             Case 22-50579-pwb                     Doc 1     Filed 01/21/22 Entered 01/21/22 15:44:01                         Desc Main
                                                             Document     Page 1 of 68
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of Georgia        (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                       
                                                       ✔ Chapter 7
                                                                Chapter 11
                                                                Chapter 12
                                                                Chapter 13                                                Check if this is an
                                                                                                                              amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                               04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Kamran
                                        __________________________________________________           __________________________________________________
       identification (for example,     First name                                                   First name
       your driver’s license or          Liaquat
                                        __________________________________________________           __________________________________________________
       passport).                       Middle name                                                  Middle name

       Bring your picture                Kurani
                                        __________________________________________________           __________________________________________________
       identification to your meeting   Last name                                                    Last name
       with the trustee.                ___________________________                                  ___________________________
                                        Suffix (Sr., Jr., II, III)                                   Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           0    6    8    9
      your Social Security              xxx        – xx – ____ ____ ____ ____                        xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)


      Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                          page 1
            Case 22-50579-pwb                        Doc 1         Filed 01/21/22 Entered 01/21/22 15:44:01                                Desc Main
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                                                                   Document     Page 2 of 68
Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name   Middle Name               Last Name




                                           About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                          
                                           ✔ I have not used any business names or EINs.                      I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in                _________________________________________________                 _________________________________________________
     the last 8 years                      Business name                                                     Business name

     Include trade names and
                                           _________________________________________________                 _________________________________________________
     doing business as names               Business name                                                     Business name



                                           _________________________________________________                 _________________________________________________
                                           EIN                                                               EIN

                                           _________________________________________________                 _________________________________________________

                                           EIN                                                               EIN



5.   Where you live                                                                                          If Debtor 2 lives at a different address:


                                           860 Peachtree Street NE                                           _________________________________________________
                                           _________________________________________________
                                           Number     Street                                                 Number     Street


                                           Suite 703                                                         _________________________________________________
                                           _________________________________________________

                                           Atlanta                                 GA
                                           _________________________________________________
                                                                                             30308           _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code

                                           Fulton County                                                     _________________________________________________
                                           _________________________________________________
                                           County                                                            County


                                           If your mailing address is different from the one                 If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send             yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                       any notices to this mailing address.


                                           _________________________________________________                 _________________________________________________
                                           Number     Street                                                 Number     Street

                                           _________________________________________________                 _________________________________________________
                                           P.O. Box                                                          P.O. Box

                                           _________________________________________________                 _________________________________________________
                                           City                            State   ZIP Code                  City                            State   ZIP Code




6.   Why you are choosing                  Check one:                                                        Check one:
     this district to file for
     bankruptcy                            
                                           ✔ Over the last 180 days before filing this petition, I            Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other           have lived in this district longer than in any other
                                                 district.                                                      district.

                                            I have another reason. Explain.                                  I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408.)                                        (See 28 U.S.C. § 1408.)




     Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1         _______________________________________________________                            Case number (if known)_____________________________________
                  First Name   Middle Name             Last Name




 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the                    Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you                   for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                             
                                             ✔
                                               Chapter 7
                                              Chapter 11
                                              Chapter 12
                                              Chapter 13

 8.    How you will pay the fee              
                                             ✔
                                               I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                                local court for more details about how you may pay. Typically, if you are paying the fee
                                                yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                                submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                with a pre-printed address.

                                              I need to pay the fee in installments. If you choose this option, sign and attach the
                                                Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                less than 150% of the official poverty line that applies to your family size and you are unable to
                                                pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for         
                                  ✔ No
       bankruptcy within the
       last 8 years?               Yes.        District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________


                                                District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                  Debtor _________________________________________________                         R elationship to you ___________________________

                                  District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                      
                                             ✔ No.    Go to line 12.
       residence?                             Yes.   Has your landlord obtained an eviction judgment against you?


                                                          No. Go to line 12.
                                                          Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                           this bankruptcy petition.




       Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1         _______________________________________________________                                Case number (if known)_____________________________________
                 First Name       Middle Name             Last Name




Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor                 
                                                ✔ No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________        _______      __________________________
                                                          City                                                  State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above

                                                If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
13.   Are you filing under                      choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
      Chapter 11 of the                         are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
      are you a small business                  if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      debtor or a debtor as
                                                
                                                ✔ No.    I am not filing under Chapter 11.
      defined by 11 U.S. C. §
      1182(1)?                                   No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
                                                         the Bankruptcy Code.
      For a definition of small
      business debtor, see                       Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
      11 U.S.C. § 101(51D).                              Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                                 Yes. I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                   Bankrutpcy Code, and I choose to proceed under Subchatper V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m edia te Att e nt ion
14.   Do you own or have any                    
                                                ✔ No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property?




      Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                  page 4
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Debtor 1        _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             ✔ I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you               I received a briefing from an approved credit                     I received a briefing from an approved credit
      cannot do so, you are not                 counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.       I have a mental illness or a mental             Incapacity.      I have a mental illness or a mental
                                                                    deficiency that makes me                                          deficiency that makes me
                                                                    incapable of realizing or making                                  incapable of realizing or making
                                                                    rational decisions about finances.                                rational decisions about finances.
                                                 Disability.       My physical disability causes me                Disability.      My physical disability causes me
                                                                    to be unable to participate in a                                  to be unable to participate in a
                                                                    briefing in person, by phone, or                                  briefing in person, by phone, or
                                                                    through the internet, even after I                                through the internet, even after I
                                                                    reasonably tried to do so.                                        reasonably tried to do so.
                                                 Active duty.      I am currently on active military               Active duty.     I am currently on active military
                                                                    duty in a military combat zone.                                   duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




       Official Form 101                                      Voluntary Petition for Individuals Filing for Bankruptcy                                       page 5
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Debtor 1         _______________________________________________________                                   Case number (if known)_____________________________________
                 First Name     Middle Name             Last Name




Pa rt 6 :      Answ e r T he se Que st ions for Re port ing Purpose s

                                              16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                        as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   
                                                   ✔   No. Go to line 16b.
                                                      Yes. Go to line 17.

                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                   money for a business or investment or through the operation of the business or investment.
                                                      No. Go to line 16c.
                                                   
                                                   ✔   Yes. Go to line 17.

                                              16c. State the type of debts you owe that are not consumer debts or business debts.
                                                   _______________________________________________________________

17.   Are you filing under
      Chapter 7?                               No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after ✔ Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
                                         ✔
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                   
                                              ✔ 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                    50-99                                     5,001-10,000                           50,001-100,000
      owe?                                     100-199                                   10,001-25,000                          More than 100,000
                                               200-999
19.   How much do you                          $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to                  $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                               
                                              ✔ $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                          $0-$50,000                               
                                                                                         ✔ $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities                $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                   $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                               $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Pa rt 7 :      Sign Be low

                                              I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                       correct.
                                              If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                              of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                              under Chapter 7.
                                              If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                              this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                              I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                              I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                              with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                              18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                               /s/ Kamran Liaquat Kurani
                                                 ______________________________________________               _____________________________
                                                 Signature of Debtor 1                                            Signature of Debtor 2

                                                                    01/21/2022
                                                 Executed on _________________                                    Executed on __________________
                                                                    MM   / DD   / YYYY                                          MM / DD     / YYYY




            Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 6
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Debtor 1        _______________________________________________________                                 Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




                                             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are                to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                           available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                             the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented                   knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                             _________________________________
                                               /s/ Michael Rethinger                                             Date          _________________
                                                                                                                                01/21/2022
                                                Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                                  Michael Rethinger
                                                _________________________________________________________________________________________________
                                                Printed name

                                                  Law Offices of Michael R Rethinger, LLC
                                                _________________________________________________________________________________________________
                                                Firm name

                                                 1392 McClendon Ave NE
                                                _________________________________________________________________________________________________
                                                Number Street

                                                _________________________________________________________________________________________________

                                                 Atlanta                                                         GA            30307
                                                ______________________________________________________ ____________ ______________________________
                                                City                                                    State        ZIP Code




                                                Contact phone 770.922.0066
                                                              ______________________________         Email address
                                                                                                                     michael@rethingerlaw.com
                                                                                                                     _________________________________________



                                                 301215                                                          GA
                                                ______________________________________________________ ____________
                                                Bar number                                              State




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 Fill in this information to identify your case:

 Debtor 1
                     Kamran Liaquat Kurani
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                                (State)
 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 265,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 7,150.00
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 272,150.00
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 894,378.56
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 175,000.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 694,066.65
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 1,763,445.21
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 2,200.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 2,364.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
    ✔


           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                               $_____________________


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                     $_____________________



    9d. Student loans. (Copy line 6f.)                                                                      $_____________________


    9e. Obligations arising out of a separation agreement or divorce that you did not report as             $_____________________
        priority claims. (Copy line 6g.)

    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
              Case 22-50579-pwb                                  Doc 1            Filed 01/21/22 Entered 01/21/22 15:44:01                                                                  Desc Main
                                                                                 Document      Page 10 of 68

Fill in this information to identify your case and this filing:

                    Kamran Liaquat Kurani
Debtor 1
                    First Name                Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name                Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of
Georgia
                                                                                                                                                                                                        Check if this is
Case number                                                                                                                                                                                             an amended
(if know)
                                                                                                                                                                                                        filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                           12/15


In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.


Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
         No. Go to Part 2
         Yes. Where is the property?

                                                                                 What is the property? Check all that apply
                                                                                                                                                                Do not deduct secured claims or exemptions. Put the
    1.1 860 Peachtree Street NE                                                    Single-family home                                                           amount of any secured claims on Schedule D:
            Street address, if available, or other description
                                                                                   Duplex or multi-unit building                                                Creditors Who Have Claims Secured by Property:
            Suite 703
                                                                                   Condominium or cooperative                                                   Current value of the                Current value of the
                                                                                   Manufactured or mobile home                                                  entire property?                    portion you own?
            Atlanta GA           30308
                                                                                   Land                                                                         $ 265,000.00                        $ 265,000.00
            City      State      ZIP Code
                                                                                   Investment property
                                                                                                                                                                Describe the nature of your ownership
                                                                                   Timeshare                                                                    interest (such as fee simple, tenancy by the
            Fulton County                                                          Other                                                                        entireties, or a life estate), if known.

            Country                                                              Who has an interest in the property? Check                                     Fee simple
                                                                                 one
                                                                                      Debtor 1 only                                                                  Check if this is community property
                                                                                      Debtor 2 only
                                                                                      Debtor 1 and Debtor 2 only
                                                                                      At least one of the debtors and another

                                                                                 Other information you wish to add about this item, such as local
                                                                                 property identification number:

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
     you have attached for Part 1. Write that number here...........................................................................................................................................➤        $ 265,000.00


Part 2:        Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.
 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
            No
            Yes
 4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
         No
         Yes

     Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
 5. you have attached for Part 2. Write that number here...........................................................................................................................................➤             $ 0.00




                                                                                                                                                                                                                page 1 of 5
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Debtor 1         Kamran Liaquat Kurani
                First Name          Middle Name          Last Name
                                                                                 Document      Page 11 of 68     Case number(if known)



 Part 3:       Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                       Current value of the
                                                                                                                                                                                                   portion you own?
  6. Household goods and furnishings                                                                                                                                                                Do not deduct secured
                                                                                                                                                                                                    claims or exemptions.
        Examples: Major appliances, furniture, linens, china, kitchenware
             No
             Yes. Describe...

        HHG                                                                                                                                                                                          $ 1,000.00
  7. Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                  collections; electronic devices including cell phones, cameras, media players, games

             No
             Yes. Describe...

        Misc Electronics                                                                                                                                                                             $ 500.00
  8. Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                  stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

             No
             Yes. Describe...
  9. Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
                  and kayaks; carpentry tools; musical instruments

             No
             Yes. Describe...

        Misc Sporting Goods                                                                                                                                                                          $ 150.00
  10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment
             No
             Yes. Describe...
  11. Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
             No
             Yes. Describe...

        Clothing                                                                                                                                                                                     $ 500.00
  12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
                  gold, silver

             No
             Yes. Describe...
  13. Non-farm animals
        Examples: Dogs, cats, birds, horses

             No
             Yes. Describe...
  14. Any other personal and household items you did not already list, including any health aids you did not list
             No
             Yes. Give specific information...

 15. Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
      you have attached for Part 3. Write that number here...........................................................................................................................................➤            $ 2,150.00



 Part 4:       Describe Your Financial Assets



                                                                                                                                                                                                                  page 2 of 5
           Case 22-50579-pwb                                       Doc 1              Filed 01/21/22 Entered 01/21/22 15:44:01 Desc Main
Debtor 1        Kamran Liaquat Kurani
              First Name            Middle Name           Last Name
                                                                                     Document      Page 12 of 68     Case number(if known)



 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.
  16. Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

           No
           Yes..............................................................................................................................................   Cash ...........................    $
  17. Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

           No
           Yes..................
  18. Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

           No
           Yes..................
  19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture
           No
           Yes. Give specific information about them...........
       Name of entity:                                                                                                                                         % of ownership:
       Legacy Pizza LLC                                                                                                                                        100                %               $ 0.00
       FitBox LLC                                                                                                                                              100                %               $ 0.00
       Legacy Pizza Alabama LLC                                                                                                                                99                 %               $ 0.00
  20. Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific information about them..........
  21. Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

           No
           Yes. List each account separately
  22. Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
                 companies, or others

           No
           Yes.....................
  23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
           No
           Yes......................
  24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition
       program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes......................
  25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit
           No
        Yes. Give specific information about them...
  26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

           No
           Yes. Give specific information about them...



                                                                                                                                                                                                               page 3 of 5
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Debtor 1          Kamran Liaquat Kurani
                First Name          Middle Name          Last Name
                                                                                 Document      Page 13 of 68     Case number(if known)



  27. Licenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

             No
             Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                                                    Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                                                   claims or exemptions.
  28. Tax refunds owed to you
             No
             Yes. Give specific information about them, including whether you already filed the returns and the tax years...
                                                                                                                                                              Federal:                             $ 0.00
                                                                                                                                                              State:                               $ 0.00
                                                                                                                                                              Local:                               $ 0.00

  29. Family support
        Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

             No
             Yes. Give specific information....
  30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                  Social Security benefits; unpaid loans you made to someone else

             No
             Yes. Give specific information....
  31. Interests in insurance policies
             No
             Yes. Name the insurance company of each policy and list its value....
  32. Any interest in property that is due you from someone who has died
             No
             Yes. Give specific information....
  33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
             No
             Yes. Give specific information....
  34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
        off claims
             No
             Yes. Give specific information....

        Money stolen by Gabriel Kitober Viera                                                                                                                                                        $ 5,000.00
  35. Any financial assets you did not already list
             No
             Yes. Give specific information...

 36. Add the dollar value of the portion you own for all of your entries from Part 4, including any entries for pages
      you have attached for Part 4. Write that number here...........................................................................................................................................➤            $ 5,000.00


 Part 5:       Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

  37. Do you own or have any legal or equitable interest in any business-related property?
             No. Go to Part 6.
             Yes. Go to line 38.


                Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
 Part 6:        If you own or have an interest in farmland, list it in Part 1.

  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
             No. Go to Part 7.
             Yes. Go to line 47.


                                                                                                                                                                                                                  page 4 of 5
               Case 22-50579-pwb                                       Doc 1             Filed 01/21/22 Entered 01/21/22 15:44:01 Desc Main
Debtor 1            Kamran Liaquat Kurani
                  First Name            Middle Name           Last Name
                                                                                        Document      Page 14 of 68     Case number(if known)



 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above

  53. Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

               No
               Yes. Give specific
              information...

 54. Add the dollar value of all of your entries from Part 7. Write that number here                                                     ................................................➤
                                                                                                                                                                                                               $ 0.00

 Part 8:         List the Totals of Each Part of this Form

  55. Part 1: Total real estate, line 2............................................................................................................................➤
                                                                                                                                                                                                            $ 265,000.00
  56. Part 2: Total vehicles, line 5                                                                                           $ 0.00
  57. Part 3: Total personal and household items, line 15                                                                      $ 2,150.00
  58. Part 4: Total financial assets, line 36                                                                                  $ 5,000.00
  59. Part 5: Total business-related property, line 45                                                                         $ 0.00
  60. Part 6: Total farm- and fishing-related property, line 52                                                                $ 0.00
  61. Part 7: Total other property not listed, line 54                                                                    + $ 0.00
  62. Total personal property. Add lines 56 through 61 ...................                                                      $ 7,150.00                          Copy personal property total➤   +$
                                                                                                                                                                                                         7,150.00
  63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                                                  $ 272,150.00




                                                                                                                                                                                                              page 5 of 5
               Case 22-50579-pwb                      Doc 1       Filed 01/21/22 Entered 01/21/22 15:44:01                                       Desc Main
                                                                 Document      Page 15 of 68
 Fill in this information to identify your case:

                     Kamran Liaquat Kurani
 Debtor 1          __________________________________________________________________
                     First Name                   Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                   Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Northern District of Georgia District of __________
                                                                                         (State)
 Case number
  (If known)
                     ___________________________________________                                                                                       Check if this is an
                                                                                                                                                          amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                     11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on            Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                    portion you own                           exemption you claim

                                                                Copy the value from                       Check only one box
                                                                Schedule A/B                              for each exemption
                 Household Goods - HHG                                                                                                   Ga. Code Ann. § 44-13-100 (a)(4)
 Brief
 description:
                                                                        1,000.00
                                                                       $________________           
                                                                                                   ✔ $ ____________
                                                                                                       1,000.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:         6
                 Electronics - Misc Electronics                                                                                          Ga. Code Ann. § 44-13-100 (a)(4)
 Brief
 description:
                                                                         500.00
                                                                       $________________            $ ____________
                                                                                                    ✔  500.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:         7
                 Sports & Hobby Equipment - Misc Sporting Goods                                                                          Ga. Code Ann. § 44-13-100 (a)(4)
 Brief
 description:                                                          $________________
                                                                         150.00                    
                                                                                                   ✔ $ ____________
                                                                                                       150.00
                                                                                                     100% of fair market value, up to
 Line from                                                                                              any applicable statutory limit
 Schedule A/B:           9

 3. Are you claiming a homestead exemption of more than $170,350?
     (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                              Schedule C: The Property You Claim as Exempt                                                              2
                                                                                                                                                                page 1 of __
             Case 22-50579-pwb Doc 1 Filed 01/21/22 Entered 01/21/22 15:44:01 Desc Main
Debtor          Kamran Liaquat Kurani               Document
               _______________________________________________________
                                                                       Page 16 of Case
                                                                                   68 number (if known)_____________________________________
                First Name      Middle Name     Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                        Amount of the                       Specific laws that allow exemption
                                                               Current value of the   exemption you claim
         on Schedule A/B that lists this property              portion you own
                                                              Copy the value from    Check only one box
                                                               Schedule A/B           for each exemption
               Clothing - Clothing                                                                                         Ga. Code Ann. § 44-13-100 (a)(4)
Brief
description:
                                                                 500.00
                                                                $________________        500.00
                                                                                      ✔ $ ____________

                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:           11

Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
                                                                                         any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                    $________________      $ ____________
                                                                                       100% of fair market value, up to
Line from                                                                                any applicable statutory limit
Schedule A/B:


 Official Form 106C                                   Schedule C: The Property You Claim as Exempt                                               2
                                                                                                                                           page ___ of __2
               Case 22-50579-pwb                                Doc 1      Filed 01/21/22 Entered 01/21/22 15:44:01                             Desc Main
                                                                          Document      Page 17 of 68
  Fill in this information to identify your case:

  Debtor 1           Kamran Liaquat Kurani
                     First Name                                   Last Name
                                             Middle Name

  Debtor 2
  (Spouse, if filing)      First Name
                                                  Middle Name
                                                                        Last Name



  United States Bankruptcy Court for the: Northern District of Georgia

  Case number                                                                                                                                             Check if this is
  (if know)                                                                                                                                               an amended
                                                                                                                                                          filing




  Official Form 106D
  Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15

  Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
  If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
  your name and case number (if known).

 1. Do any creditors have claims secured by your property?
       No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       Yes. Fill in all of the information below.


  Part 1:       List All Secured Claims

  2. List all secured claims. If a creditor has more than one secured claim, list the creditor                Column A                  Column B          Column C
     separately for each claim. If more than one creditor has a particular claim, list the other creditors in Amount of                 Value of          Unsecured
     Part 2. As much as possible, list the claims in alphabetical order according to the creditor’s name. claim Do not                  collateral that   portion If any
                                                                                                              deduct the value          supports this
                                                                                                              of collateral.            claim
 2.1                                                                Describe the property that secures the claim: $ 12,000.00           $ 265,000.00      $ 0.00

                                                                   860 Peachtree Street NE Suite 703, Atlanta, GA 30308 - $265,000.00
       Ascentium Capital
       Creditor’s Name
       23970 Highway 59 N
       Number        Street
                                                                  As of the date you file, the claim is: Check all
       Kingwood TX                77339                           that apply.
       City            State      ZIP Code
                                                                     Contingent
       Who owes the debt? Check one.                                 Unliquidated
         Debtor 1 only                                               Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                               Nature of lien. Check all that apply.
         At least one of the debtors and another                     An agreement you made (such as mortgage or
                                                                     secured car loan)
              Check if this claim relates to a                       Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                         Judgment lien from a lawsuit
                                                                     Other (including a right to offset)
       Date debt was incurred
                                                                  Last 4 digits of account number




Official Form 106D                                                 Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 6
               Kamran Liaquat Kurani
Debtor         Case   22-50579-pwb
               First Name        Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                     15:44:01         Desc Main
                                                                                                         number(if known)

                                                                    Document      Page 18 of 68
 2.2                                                           Describe the property that secures the claim: $ 95,694.00           $ 265,000.00   $ 0.00

                                                              860 Peachtree Street NE Suite 703, Atlanta, GA 30308 - $265,000.00
       Ascentium Capital
       Creditor’s Name
       23970 Highway 59 N
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Kingwood TX              77339                        that apply.
       City           State     ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred
                                                             Last 4 digits of account number 8601

 2.3                                                           Describe the property that secures the claim: $ 136,013.68          $ 265,000.00   $ 0.00

                                                              860 Peachtree Street NE Suite 703, Atlanta, GA 30308 - $265,000.00
       Ascentium Capital
       Creditor’s Name
       23970 Highway 59 N
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Kingwood TX              77339                        that apply.
       City           State     ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred
                                                             Last 4 digits of account number 2573

 2.4                                                           Describe the property that secures the claim: $ 66,155.60           $ 265,000.00   $ 0.00

                                                              860 Peachtree Street NE Suite 703, Atlanta, GA 30308 - $265,000.00
       Ascentium Capital LLC
       Creditor’s Name
       23970 Highway 59 North
       Number        Street
                                                             As of the date you file, the claim is: Check all
       Kingswood TX              77339                       that apply.
       City             State    ZIP Code
                                                                Contingent
       Who owes the debt? Check one.                            Unliquidated
         Debtor 1 only                                          Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                          Nature of lien. Check all that apply.
         At least one of the debtors and another                An agreement you made (such as mortgage or
                                                                secured car loan)
              Check if this claim relates to a                  Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                    Judgment lien from a lawsuit
                                                                Other (including a right to offset)
       Date debt was incurred
                                                             Last 4 digits of account number 2894




Official Form 106D                                            Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 6
               Kamran Liaquat Kurani
Debtor         Case   22-50579-pwb
               First Name           Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                        15:44:01         Desc Main
                                                                                                            number(if known)

                                                                       Document      Page 19 of 68
 2.5                                                              Describe the property that secures the claim: $ 209,883.20          $ 265,000.00   $ 0.00

                                                                 860 Peachtree Street NE Suite 703, Atlanta, GA 30308 - $265,000.00
       Pawnee Leasing Company
       Creditor’s Name
       3801 Automation Way
       Number        Street
                                                                As of the date you file, the claim is: Check all
       Suite 207                                                that apply.
                                                                   Contingent
       Fort Collins CO              80525                          Unliquidated
       City                 State   ZIP Code
                                                                   Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                          Nature of lien. Check all that apply.
         Debtor 2 only                                             An agreement you made (such as mortgage or
                                                                   secured car loan)
         Debtor 1 and Debtor 2 only
                                                                   Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another
                                                                   Judgment lien from a lawsuit
              Check if this claim relates to a                     Other (including a right to offset)
              community debt
                                                                Last 4 digits of account number
       Date debt was incurred

 2.6                                                              Describe the property that secures the claim: $ 310,000.00          $ 265,000.00   $ 52,884.83

                                                                 860 Peachtree Street NE Suite 703, Atlanta, GA 30308 - $265,000.00
       Regions Bank dba Regions Mortgage
       Creditor’s Name
       PO BOX 110
       Number        Street
                                                                As of the date you file, the claim is: Check all
       Hattiesburg MS               39403                       that apply.
       City                 State   ZIP Code
                                                                   Contingent
       Who owes the debt? Check one.                               Unliquidated
         Debtor 1 only                                             Disputed
         Debtor 2 only
         Debtor 1 and Debtor 2 only                             Nature of lien. Check all that apply.
         At least one of the debtors and another                   An agreement you made (such as mortgage or
                                                                   secured car loan)
              Check if this claim relates to a                     Statutory lien (such as tax lien, mechanic’s lien)
              community debt                                       Judgment lien from a lawsuit
                                                                   Other (including a right to offset)
       Date debt was incurred 06/15/2018
                                                                Last 4 digits of account number 4623

 2.7                                                              Describe the property that secures the claim: $ 7,884.83            $ 265,000.00   $ 0.00

                                                                 860 Peachtree Street NE Suite 703, Atlanta, GA 30308 - $265,000.00
       Spire Residential Condominium
       Creditor’s Name
       Association, Inc.
                                                                As of the date you file, the claim is: Check all
       860 Peachtree Street NE                                  that apply.
       Number        Street
                                                                   Contingent
       Atlanta GA             30308                                Unliquidated
       City       State       ZIP Code
                                                                   Disputed
       Who owes the debt? Check one.
         Debtor 1 only                                          Nature of lien. Check all that apply.
         Debtor 2 only                                             An agreement you made (such as mortgage or
                                                                   secured car loan)
         Debtor 1 and Debtor 2 only
                                                                   Statutory lien (such as tax lien, mechanic’s lien)
         At least one of the debtors and another
                                                                   Judgment lien from a lawsuit
              Check if this claim relates to a                     Other (including a right to offset)
              community debt
                                                                Last 4 digits of account number
       Date debt was incurred




Official Form 106D                                               Schedule D: Creditors Who Have Claims Secured by Property                                    page 3 of 6
                Kamran Liaquat Kurani
Debtor          Case   22-50579-pwb
                First Name           Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                         15:44:01         Desc Main
                                                                                                             number(if known)

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 2.8                                                               Describe the property that secures the claim: $ 56,747.25                    $ 265,000.00   $ 0.00

                                                                  860 Peachtree Street NE Suite 703, Atlanta, GA 30308 - $265,000.00
        United Community Bank
        Creditor’s Name
        9699 Rome Blvd
        Number       Street
                                                                 As of the date you file, the claim is: Check all
        Summerville GA                30747                      that apply.
        City                 State    ZIP Code
                                                                    Contingent
        Who owes the debt? Check one.                               Unliquidated
          Debtor 1 only                                             Disputed
          Debtor 2 only
          Debtor 1 and Debtor 2 only                             Nature of lien. Check all that apply.
          At least one of the debtors and another                   An agreement you made (such as mortgage or
                                                                    secured car loan)
               Check if this claim relates to a                     Statutory lien (such as tax lien, mechanic’s lien)
               community debt                                       Judgment lien from a lawsuit
                                                                    Other (including a right to offset)
        Date debt was incurred
                                                                 Last 4 digits of account number 8095

       Add the dollar value of your entries in Column A on this page. Write that number here:                            $ 894,378.56


  Part 2:        List Others to Be Notified for a Debt That You Already Listed

   Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
   agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here.
   Similarly, if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have
   additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

         Adams and Reese LLP                                                          On which line in Part 1 did you enter the creditor? 2.8
         Creditor’s Name                                                              Last 4 digits of account number
         3424 Peachtree Road NE
         Number        Street
         Suite 1600

         Atlanta GA             30326
         City        State      ZIP Code

         Aldridge Pite Haan LLP                                                       On which line in Part 1 did you enter the creditor? 2.5
         Creditor’s Name                                                              Last 4 digits of account number
         6100 Lake Forest Drive, NW
         Number        Street
         Suite 200

         Atlanta GA             30328
         City        State      ZIP Code

         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC                           On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                              Last 4 digits of account number
         3414 Peachtree Rd, NE
         Number        Street
         Suite 1500

         Atlanta GA             30326
         City        State      ZIP Code

         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC                           On which line in Part 1 did you enter the creditor? 2.2
         Creditor’s Name                                                              Last 4 digits of account number
         3414 Peachtree Rd, NE
         Number        Street
         Suite 1500

         Atlanta GA             30326
         City        State      ZIP Code




                                                                                      On which line in Part 1 did you enter the creditor? 2.3
Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                                             page 4 of 6
                Kamran Liaquat Kurani
Debtor          Case   22-50579-pwb
                First Name         Middle Name        Last Name   Doc 1    Filed 01/21/22 Entered 01/21/22Case
                                                                                                           15:44:01         Desc Main
                                                                                                               number(if known)

                                                                          Document      Page 21 of 68
         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC                            On which line in Part 1 did you enter the creditor? 2.3
         Creditor’s Name                                                               Last 4 digits of account number
         3414 Peachtree Rd, NE
         Number        Street
         Suite 1500

         Atlanta GA             30326
         City        State      ZIP Code

         Baker, Donelson, Bearman, Caldwell & Berkowitz, PC                            On which line in Part 1 did you enter the creditor? 2.4
         Creditor’s Name                                                               Last 4 digits of account number
         3414 Peachtree Rd, NE
         Number        Street
         Suite 1500

         Atlanta GA             30326
         City        State      ZIP Code

         C T Corporation System                                                        On which line in Part 1 did you enter the creditor? 2.8
         Creditor’s Name                                                               Last 4 digits of account number
         289 South Culver Street
         Number        Street
         Lawrenceville GA                30046
         City                   State    ZIP Code

         Corporation Service Company                                                   On which line in Part 1 did you enter the creditor? 2.5
         Creditor’s Name                                                               Last 4 digits of account number
         2 SUN COURT
         Number        Street
         SUITE 400

         Peachtree Corners GA                    30092
         City                           State    ZIP Code

         Corporation Service Company                                                   On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                               Last 4 digits of account number
         2 Sun Court
         Number        Street
         Suite 400

         Peachtree Corner GA                    30092
         City                       State       ZIP Code

         Corporation Service Company                                                   On which line in Part 1 did you enter the creditor? 2.2
         Creditor’s Name                                                               Last 4 digits of account number
         2 Sun Court
         Number        Street
         Suite 400

         Norcross GA              30092
         City           State     ZIP Code

         Corporation Service Company                                                   On which line in Part 1 did you enter the creditor? 2.3
         Creditor’s Name                                                               Last 4 digits of account number
         2 Sun Court
         Number        Street
         Suite 400

         Peachtree Corner GA                    30092
         City                       State       ZIP Code

         Corporation Service Company                                                   On which line in Part 1 did you enter the creditor? 2.4
         Creditor’s Name                                                               Last 4 digits of account number
         2 Sun Court
         Number        Street
         Suite 400

         Peachtree Corner GA                    30092
         City                       State       ZIP Code




                                                                                       On which line in Part 1 did you enter the creditor? 2.1
Official Form 106D                                                   Schedule D: Creditors Who Have Claims Secured by Property                   page 5 of 6
                Kamran Liaquat Kurani
Debtor          Case   22-50579-pwb
                First Name           Middle Name   Last Name   Doc 1    Filed 01/21/22 Entered 01/21/22Case
                                                                                                        15:44:01         Desc Main
                                                                                                            number(if known)

                                                                       Document      Page 22 of 68
         Wright Law Group, PLLC                                                     On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                            Last 4 digits of account number 30-2020-01124549-CU-BC-CJC
         4470 W. Sunset Blvd
         Number        Street
         Suite 90003

         Los Angeles CA                 90027
         City                State      ZIP Code

         co-owner of fitbox                                                         On which line in Part 1 did you enter the creditor? 2.1
         Creditor’s Name                                                            Last 4 digits of account number
         Gabriel Kitober Viera
         Number        Street
         302 Perimeter Ctr N

         Atlanta GA             30346
         City        State      ZIP Code




Official Form 106D                                                Schedule D: Creditors Who Have Claims Secured by Property                      page 6 of 6
                Case 22-50579-pwb                                Doc 1     Filed 01/21/22 Entered 01/21/22 15:44:01                                  Desc Main
                                                                          Document      Page 23 of 68
   Fill in this information to identify your case:

                   Kamran Liaquat Kurani
   Debtor 1
                   First Name                                      Last Name
                                             Middle Name

   Debtor 2
   (Spouse, if filing)     First Name
                                                   Middle Name
                                                                         Last Name



   United States Bankruptcy Court for the: Northern District of Georgia

   Case number                                                                                                                                                  Check if this is
   (if know)                                                                                                                                                    an amended
                                                                                                                                                                filing


  Official Form 106E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
 other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
 (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with
 partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
 need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write
 your name and case number (if known).

   Part 1:      List All of Your PRIORITY Unsecured Claims
  1. Do any creditors have priority unsecured claims against you?
        No. Go to Part 2.
         Yes.
   2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
      claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
      amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured
      claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3. (For an explanation of
      each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                                       Total claim   Priority      Nonpriority
                                                                                                                                                     amount        amount
  2.1                                                                          Last 4 digits of account number
         Internal Revenue Service                                                                                                      $             $ 0.00        $
         Priority Creditor's Name
                                                                               When was the debt incurred? 2017                        175,000.00                  175,000.00
         Centralized Insolvency Operation                                      As of the date you file, the claim is: Check all
         Number        Street                                                  that apply.
         PO Box 7346                                                              Contingent
                                                                                  Unliquidated
         Philadelphia PA                19101-7346                                Disputed
         City              State        ZIP Code

         Who owes the debt? Check one.                                         Type of PRIORITY unsecured claim:
             Debtor 1 only                                                        Domestic support obligations
             Debtor 2 only                                                        Taxes and certain other debts you owe the
                                                                                  government
             Debtor 1 and Debtor 2 only                                           Claims for death or personal injury while you were
             At least one of the debtors and another                              intoxicated
             Check if this claim relates to a community                          Other. Specify
             debt
         Is the claim subject to offset?
             No
             Yes
   Part 2:      List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing else to report in this part. Submit to the court with your other schedules.
        Yes. Fill in all of the information below.

   4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                                            page 1 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name         Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                        15:44:01         Desc Main
                                                                                                            number(if known)

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  4.1                                                                    Last 4 digits of account number
          Adrian Szakallas                                                                                                                 $ 292,744.04
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          925 B Peachtree Street                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          #2166                                                             Unliquidated
                                                                            Disputed
          Atlanta GA             30309
          City        State      ZIP Code                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.2                                                                    Last 4 digits of account number
          Bovis Kyle Birch and Medlin                                                                                                           $ 0.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          200 ASHFORD CENTER NORTH                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          SUITE 500                                                         Unliquidated
                                                                            Disputed
          Atlanta GA             30338
          City        State      ZIP Code                                Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                    Student loans
              Debtor 1 only                                                 Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              Debtor 2 only
                                                                            Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                    debts
              At least one of the debtors and another                      Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.3                                                                    Last 4 digits of account number 8762
          Capital One                                                                                                                        $ 4,000.00
          Nonpriority Creditor's Name
                                                                         When was the debt incurred?

          P.O. Box 71083                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                              Contingent
          Charlotte NC             28272                                    Unliquidated
          City           State     ZIP Code
                                                                            Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                              Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                Student loans
              Debtor 1 and Debtor 2 only                                    Obligations arising out of a separation agreement or divorce
                                                                            that you did not report as priority claims
              At least one of the debtors and another                       Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                    debts
              debt                                                         Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                  Schedule E/F: Creditors Who Have Unsecured Claims                       page 2 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name       Middle Name    Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                       15:44:01         Desc Main
                                                                                                           number(if known)

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  4.4                                                                   Last 4 digits of account number 0156
          Chase                                                                                                                           $ 5,000.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 1423                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Charlotte NC           28201                                     Unliquidated
          City           State   ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.5                                                                   Last 4 digits of account number 9396
          Chase                                                                                                                           $ 9,982.10
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          P.O. Box 1423                                                 As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Charlotte NC           28201                                     Unliquidated
          City           State   ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.6                                                                   Last 4 digits of account number 0604
          Chase                                                                                                                           $ 5,923.00
          Nonpriority Creditor's Name
                                                                        When was the debt incurred?

          PO Box 6294                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                             Contingent
          Carol Stream IL             60197                                Unliquidated
          City                State   ZIP Code
                                                                           Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                             Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                               Student loans
              Debtor 1 and Debtor 2 only                                   Obligations arising out of a separation agreement or divorce
                                                                           that you did not report as priority claims
              At least one of the debtors and another                      Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                   debts
              debt                                                        Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                 Schedule E/F: Creditors Who Have Unsecured Claims                     page 3 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name            Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                           15:44:01         Desc Main
                                                                                                               number(if known)

                                                                          Document      Page 26 of 68
  4.7                                                                       Last 4 digits of account number 3222
          Chase                                                                                                                               $ 3,200.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          P.O. Box 1423                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Charlotte NC                28201                                    Unliquidated
          City           State        ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.8                                                                       Last 4 digits of account number 9279
          Citi                                                                                                                                $ 7,266.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          PO Box 70166                                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Philadelphia PA                19176                                 Unliquidated
          City                 State     ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.9                                                                       Last 4 digits of account number
          Citicards CBNA                                                                                                                      $ 7,155.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          5800 South Corporate Place                                        As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Mail Code 234                                                        Unliquidated
                                                                               Disputed
          Sioux Falls SD               57108
          City                State    ZIP Code                             Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                       Student loans
              Debtor 1 only                                                    Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              Debtor 2 only
                                                                               Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                       debts
              At least one of the debtors and another                         Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                     page 4 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name         Middle Name     Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                          15:44:01         Desc Main
                                                                                                              number(if known)

                                                                         Document      Page 27 of 68
  4.10 CREDENCE RESOURCE MANA                                              Last 4 digits of account number 8489
                                                                                                                                             $ Unknown
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          17000 DALLAS PKWY                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          STE 20                                                              Unliquidated
                                                                              Disputed
          Dallas TX           75248
          City      State     ZIP Code                                     Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.11 Deeter and Fraiser                                                  Last 4 digits of account number
                                                                                                                                             $ 19,226.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          Promenade II                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          1230 Peachtree St NE #1500                                          Unliquidated
                                                                              Disputed
          Atlanta GA             30309
          City        State      ZIP Code                                  Type of NONPRIORITY unsecured claim:
          Who owes the debt? Check one.                                      Student loans
              Debtor 1 only                                                   Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              Debtor 2 only
                                                                              Debts to pension or profit-sharing plans, and other similar
              Debtor 1 and Debtor 2 only                                      debts
              At least one of the debtors and another                        Other. Specify
              Check if this claim relates to a community
              debt
          Is the claim subject to offset?
              No
              Yes

  4.12 Discover Financial Services                                         Last 4 digits of account number 5813
                                                                                                                                              $ 6,991.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          P.O. Box 30943                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Salt Lake City UT              84130                                Unliquidated
          City                   State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                      page 5 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name           Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                          15:44:01         Desc Main
                                                                                                              number(if known)

                                                                         Document      Page 28 of 68
  4.13 DISCOVER FIN SVCS LLC                                               Last 4 digits of account number 1120
                                                                                                                                             $ 6,523.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          PO Box 15316                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Wilmington DE               19850                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.14 Heritage First Bank                                                 Last 4 digits of account number
                                                                                                                                             $ 8,751.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          PO Box 5184                                                      As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Rome GA               30162                                         Unliquidated
          City      State       ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.15 JPMCB CARD                                                          Last 4 digits of account number 4720
                                                                                                                                             $ 1,186.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          PO BOX 15369                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Wilmington DE               19850                                   Unliquidated
          City                State   ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                     page 6 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name           Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
                                                                                                          15:44:01         Desc Main
                                                                                                              number(if known)

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  4.16 Pioneer Mutual Federal Credit Union                                 Last 4 digits of account number 0003
                                                                                                                                             $ 65,000.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred? 09/01/2016

          1521 Lake Pointe Parkway                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Sugar Land TX                77478                                  Unliquidated
          City                State    ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.17 Pioneer Mutual Federal Credit Union                                 Last 4 digits of account number
                                                                                                                                             $ 22,176.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          1521 Lake Pointe Parkway                                         As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Sugar Land TX                77478                                  Unliquidated
          City                State    ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.18 Platinum Company Credit Card                                        Last 4 digits of account number 1429
                                                                                                                                              $ 8,624.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          2035 SUGARLOAF CIR                                               As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Duluth GA            30097                                          Unliquidated
          City       State     ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                      page 7 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name      Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
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                                                                                                         number(if known)

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  4.19 Platinum FCU                                                   Last 4 digits of account number 0003
                                                                                                                                        $ Unknown
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          2035 SUGARLOAF CIR                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Duluth GA           30097                                      Unliquidated
          City       State    ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.20 Platinum Federal Credit Union                                  Last 4 digits of account number 0008
                                                                                                                                         $ 2,316.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          2035 SUGARLOAF CIR                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Duluth GA           30097                                      Unliquidated
          City       State    ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.21 Platinum Federal Credit Union                                  Last 4 digits of account number 0003
                                                                                                                                        $ 16,440.00
          Nonpriority Creditor's Name
                                                                      When was the debt incurred?

          2035 SUGARLOAF CIR                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                           Contingent
          Duluth GA           30097                                      Unliquidated
          City       State    ZIP Code
                                                                         Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                           Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                             Student loans
              Debtor 1 and Debtor 2 only                                 Obligations arising out of a separation agreement or divorce
                                                                         that you did not report as priority claims
              At least one of the debtors and another                    Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                 debts
              debt                                                      Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                               Schedule E/F: Creditors Who Have Unsecured Claims                      page 8 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name           Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
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                                                                                                              number(if known)

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  4.22 Regions Bank                                                        Last 4 digits of account number 1763
                                                                                                                                             $ 38,444.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          Post Office Box 11007                                            As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Birmingham AL                 35288                                 Unliquidated
          City                State     ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.23 Regions Bank                                                        Last 4 digits of account number 9970
                                                                                                                                             $ 22,708.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          1900 5TH AVE N                                                   As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Birmingham AL                 35203                                 Unliquidated
          City                State     ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.24 Regions Bank                                                        Last 4 digits of account number 5102
                                                                                                                                             $ 20,592.72
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          P.O. Box 2224                                                    As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Birmingham AL                 35246                                 Unliquidated
          City                State     ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                      page 9 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name            Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
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                                                                                                               number(if known)

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  4.25 Regions Bank                                                         Last 4 digits of account number 7255
                                                                                                                                              $ 19,026.79
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          P.O. Box 2224                                                     As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Birmingham AL                  35246                                 Unliquidated
          City                 State     ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.26 Sallie Mae                                                           Last 4 digits of account number 1304
                                                                                                                                               $ 1,792.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          PO Box 3229                                                       As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Wilmington DE                19804                                   Unliquidated
          City                State    ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes

  4.27 Yasmin Kurani                                                        Last 4 digits of account number
                                                                                                                                              $ 54,000.00
          Nonpriority Creditor's Name
                                                                            When was the debt incurred?

          615 Blue Park Road                                                As of the date you file, the claim is: Check all that apply.
          Number        Street                                                 Contingent
          Orange City FL                 32763                                 Unliquidated
          City                 State     ZIP Code
                                                                               Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                   Student loans
              Debtor 1 and Debtor 2 only                                       Obligations arising out of a separation agreement or divorce
                                                                               that you did not report as priority claims
              At least one of the debtors and another                          Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                       debts
              debt                                                            Other. Specify
          Is the claim subject to offset?
              No
              Yes




Official Form 106E/F                                                     Schedule E/F: Creditors Who Have Unsecured Claims                     page 10 of 12
                 Kamran Liaquat Kurani
 Debtor          Case   22-50579-pwb
                 First Name           Middle Name   Last Name   Doc 1     Filed 01/21/22 Entered 01/21/22Case
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  4.28 Zarina Ali                                                          Last 4 digits of account number
                                                                                                                                                                       $ 45,000.00
          Nonpriority Creditor's Name
                                                                           When was the debt incurred?

          5818 Berkshire Ridge Rd                                          As of the date you file, the claim is: Check all that apply.
          Number        Street                                                Contingent
          Sugar Land TX                77479                                  Unliquidated
          City                State    ZIP Code
                                                                              Disputed
          Who owes the debt? Check one.
              Debtor 1 only                                                Type of NONPRIORITY unsecured claim:
              Debtor 2 only                                                  Student loans
              Debtor 1 and Debtor 2 only                                      Obligations arising out of a separation agreement or divorce
                                                                              that you did not report as priority claims
              At least one of the debtors and another                         Debts to pension or profit-sharing plans, and other similar
              Check if this claim relates to a community                      debts
              debt                                                           Other. Specify
          Is the claim subject to offset?
              No
              Yes

   Part 3:        List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
     collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection
     agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If
     you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.


        Burr Forman LLP                                                               On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                      Line 4.22 of (Check one):             Part 1: Creditors with Priority Unsecured Claims
        171 Seventeenth Street NW
        Number       Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        Suite 1100                                                                    Claims
                                                                                      Last 4 digits of account number
        Atlanta GA            30363
        City       State      ZIP Code


        CAVALRY PORTFOLIO SERV                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
        Creditor’s Name
                                                                                      Line 4.9     of (Check one):          Part 1: Creditors with Priority Unsecured Claims
        PO BOX 27288
        Number       Street                                                                                                 Part 2: Creditors with Nonpriority Unsecured
        Tempe AZ              85285                                                   Claims
        City       State      ZIP Code
                                                                                      Last 4 digits of account number 0444

   Part 4:        Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
     Add the amounts for each type of unsecured claim.


                                                                                                                       Total claim

   Total claims          6a. Domestic support obligations                                                   6a.   $ 0.00
   from Part 1
                         6b. Taxes and certain other debts you owe the                                      6b.   $ 175,000.00
                         government
                         6c. Claims for death or personal injury while you were                             6c.   $ 0.00
                             intoxicated
                         6d. Other. Add all other priority unsecured claims. Write that                     6d.   $ 0.00
                             amount here.
                         6e. Total. Add lines 6a through 6d.                                                6e.
                                                                                                                     $ 175,000.00




Official Form 106E/F                                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 11 of 12
              Kamran Liaquat Kurani
 Debtor       Case   22-50579-pwb
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                                                                                                      number(if known)

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                                                                                                              Total claim

   Total claims        6f. Student loans                                                            6f.   $ 0.00
   from Part 2
                       6g. Obligations arising out of a separation agreement or                     6g.   $ 0.00
                           divorce that you did not report as priority claims
                       6h. Debts to pension or profit-sharing plans, and other                      6h.   $ 0.00
                           similar debts
                       6i. Other. Add all other nonpriority unsecured claims. Write that            6i.   $ 694,066.65
                           amount here.
                       6j. Total. Add lines 6f through 6i.                                          6j.
                                                                                                           $ 694,066.65




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims              page 12 of 12
             Case 22-50579-pwb                     Doc 1        Filed 01/21/22 Entered 01/21/22 15:44:01                Desc Main
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  Fill in this information to identify your case:

  Debtor 1
                     Kamran Liaquat Kurani
                      First Name                                Last Name
                                         Middle Name

  Debtor 2
  (Spouse, if filing)       First Name
                                              Middle Name
                                                                     Last Name



  United States Bankruptcy Court for the: Northern District of Georgia

  Case number                                                                                                                   Check if this is
  (if know)                                                                                                                     an amended
                                                                                                                                filing




  Official Form 106G
  Schedule G: Executory Contracts and Unexpired Leases                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is
    for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
    executory contracts and unexpired leases.


       Person or company with whom you have the contract or lease State what the contract or lease is for




Official Form 106G                                          Schedule G: Executory Contracts and Unexpired Leases                         page 1 of 1
               Case 22-50579-pwb                        Doc 1     Filed 01/21/22 Entered 01/21/22 15:44:01                             Desc Main
                                                                 Document      Page 36 of 68
Fill in this information to identify your case:

Debtor 1
                 Kamran Liaquat Kurani
                  First Name                              Last Name
                                     Middle Name

Debtor 2
(Spouse, if filing)     First Name
                                          Middle Name
                                                                Last Name



United States Bankruptcy Court for the: Northern District of Georgia

Case number                                                                                                                                     Check if this is
(if know)                                                                                                                                       an amended
                                                                                                                                                filing




  Official Form 106H
  Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.


 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      No
      Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
    California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
    line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
    Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
    out Column 2.


       Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
3.1     Saima Ali Kurani                                                                               Schedule D, line
        Name                                                                                           Schedule E/F, line 2.1
        5818 Berkshire Road                                                                            Schedule G, line
        Street
        Sugar Land                                                    TX       77479
        City                                                          State    ZIP Code
3.2     Saima Ali Kurani                                                                               Schedule D, line
        Name                                                                                           Schedule E/F, line 4.6
        5818 Berkshire Road                                                                            Schedule G, line
        Street
        Sugar Land                                                    TX       77479
        City                                                          State    ZIP Code

3.3     Saima Ali Kurani                                                                               Schedule D, line
        Name                                                                                           Schedule E/F, line 4.11
        5818 Berkshire Road                                                                            Schedule G, line
        Street
        Sugar Land                                                    TX       77479
        City                                                          State    ZIP Code

3.4     Saima Ali Kurani                                                                               Schedule D, line
        Name                                                                                           Schedule E/F, line 4.14
        5818 Berkshire Road                                                                            Schedule G, line
        Street
        Sugar Land                                                    TX       77479
        City                                                          State    ZIP Code


Official Form 106H                                                            Schedule H: Your Codebtors                                               page 1 of 3
                Kamran Liaquat Kurani
Debtor          Case   22-50579-pwb
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3.5      Saima Ali Kurani                                                                       Schedule D, line
         Name                                                                                   Schedule E/F, line 4.16
         5818 Berkshire Road                                                                    Schedule G, line
         Street
         Sugar Land                                            TX       77479
         City                                                  State    ZIP Code
3.6      Fitbox LLC                                                                             Schedule D, line 2.1
         Name                                                                                   Schedule E/F, line
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code
3.7      Legacy Pizza LLC                                                                       Schedule D, line
         Name                                                                                   Schedule E/F, line 4.22
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code
3.8      Legacy Pizza LLC                                                                       Schedule D, line
         Name                                                                                   Schedule E/F, line 4.14
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code
3.9      Saima Ali Kurani                                                                       Schedule D, line
         Name                                                                                   Schedule E/F, line 4.3
         5818 Berkshire Road                                                                    Schedule G, line
         Street
         Sugar Land                                            TX       77479
         City                                                  State    ZIP Code

3.10     Saima Ali Kurani                                                                       Schedule D, line
         Name                                                                                   Schedule E/F, line 4.5
         5818 Berkshire Road                                                                    Schedule G, line
         Street
         Sugar Land                                            TX       77479
         City                                                  State    ZIP Code

3.11     Saima Ali Kurani                                                                       Schedule D, line
         Name                                                                                   Schedule E/F, line 4.7
         5818 Berkshire Road                                                                    Schedule G, line
         Street
         Sugar Land                                            TX       77479
         City                                                  State    ZIP Code

3.12     Legacy Pizza LLC                                                                       Schedule D, line
         Name                                                                                   Schedule E/F, line 4.25
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code

3.13     Fitbox LLC                                                                             Schedule D, line
         Name                                                                                   Schedule E/F, line 4.24
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code




Official Form 106H                                                     Schedule H: Your Codebtors                            page 2 of 3
                Kamran Liaquat Kurani
Debtor          Case   22-50579-pwb
                First Name   Middle Name   Last Name   Doc 1    Filed 01/21/22 Entered 01/21/22Case
                                                                                                15:44:01         Desc Main
                                                                                                    number(if known)

                                                               Document      Page 38 of 68
3.14     Legacy Pizza LLC                                                                       Schedule D, line 2.2
         Name                                                                                   Schedule E/F, line
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code
3.15     Legacy Pizza LLC                                                                       Schedule D, line 2.4
         Name                                                                                   Schedule E/F, line
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code
3.16     Legacy Pizza LLC                                                                       Schedule D, line 2.3
         Name                                                                                   Schedule E/F, line
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code
3.17     Saima Ali Kurani                                                                       Schedule D, line
         Name                                                                                   Schedule E/F, line 4.17
         5818 Berkshire Road                                                                    Schedule G, line
         Street
         Sugar Land                                            TX       77479
         City                                                  State    ZIP Code
3.18     Legacy Pizza LLC                                                                       Schedule D, line 2.8
         Name                                                                                   Schedule E/F, line
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code

3.19     Legacy Pizza LLC                                                                       Schedule D, line 2.5
         Name                                                                                   Schedule E/F, line
         860 Peachtree Street NE Suite 703                                                      Schedule G, line
         Street
         Atlanta                                               GA       30308
         City                                                  State    ZIP Code




Official Form 106H                                                     Schedule H: Your Codebtors                            page 3 of 3
               Case 22-50579-pwb                Doc 1        Filed 01/21/22 Entered 01/21/22 15:44:01                              Desc Main
                                                            Document      Page 39 of 68
 Fill in this information to identify your case:

                      Kamran Liaquat Kurani
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: ______________________
                                          Northern District of GeorgiaDistrict
                                                                                    tate)
 Case number         ___________________________________________                                        Check if this is:
  (If known)
                                                                                                         An amended filing
                                                                                                         A supplement showing postpetition chapter 13
                                                                                                           income as of the following date:
                                                                                                           ________________
Official Form 106I                                                                                         MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                             Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                           ✔ Employed
    information about additional          Employment status                                                                Employed
    employers.                                                             Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                    Consultant
                                          Occupation                     __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                           Bmark Consulting LLC
                                         Employer’s name                __________________________________            __________________________________


                                         Employer’s address                925B Peachtree Street
                                                                        _______________________________________     ________________________________________
                                                                         Number Street                               Number    Street
                                                                           #2166
                                                                        _______________________________________     ________________________________________

                                                                        _______________________________________     ________________________________________

                                                                           Atlanta, GA 30309
                                                                        _______________________________________     ________________________________________
                                                                         City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   5 months                                           ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                   For Debtor 1       For Debtor 2 or
                                                                                                                      non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.            2.       2,500.00
                                                                                                  $___________           $____________

 3. Estimate and list monthly overtime pay.                                                 3.   + $___________
                                                                                                           0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                            4.       2,500.00
                                                                                                  $__________            $____________




Official Form 106I                                                  Schedule I: Your Income                                                      page 1
            Case 22-50579-pwb Doc 1
              Kamran Liaquat Kurani
                                                                           Filed 01/21/22 Entered 01/21/22 15:44:01 Desc Main
Debtor 1         _______________________________________________________  Document      Page 40 of Case
                                                                                                    68 number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        2,500.00
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.          300.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +   $_____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________
    _____________________________________________________________                                                        $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.          300.00
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        2,200.00
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            2,200.00
                                                                                                                         $___________     +       $_____________    =      2,200.00
                                                                                                                                                                        $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                  11. + $_____________
                                                                                                                                                                            0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                           2,200.00
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                        12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                page 2
               Case 22-50579-pwb                  Doc 1        Filed 01/21/22 Entered 01/21/22 15:44:01                                        Desc Main
                                                              Document      Page 41 of 68
  Fill in this information to identify your case:

                     Kamran Liaquat Kurani
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Northern District of Georgia
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________       District of __________                     expenses as of the following date:
                                                                                      (State)
                                                                                                                  ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                   No                                           Dependent’s relationship to              Dependent’s    Does dependent live
   Do not list Debtor 1 and                 ✔ Yes. Fill out this information for
                                                                                          Debtor 1 or Debtor 2                     age            with you?
   Debtor 2.                                    each dependent..........................
                                                                                            daughter                                 17            ✔ No
                                                                                                                                                   
   Do not state the dependents’                                                            _________________________                ________
   names.                                                                                                                                           Yes
                                                                                            daughter                                 15            ✔ No
                                                                                                                                                   
                                                                                           _________________________                ________
                                                                                                                                                    Yes
                                                                                            son                                      7             ✔ No
                                                                                                                                                   
                                                                                           _________________________                ________
                                                                                                                                                    Yes
                                                                                            son                                      3             ✔ No
                                                                                                                                                   
                                                                                           _________________________                ________
                                                                                                                                                    Yes
                                                                                           _________________________                ________        No
                                                                                                                                                    Yes
3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                       0.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                      0.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                      0.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
               Case 22-50579-pwb                  Doc 1           Filed 01/21/22 Entered 01/21/22 15:44:01                     Desc Main
                                                                 Document      Page 42 of 68
                    Kamran Liaquat Kurani
 Debtor 1          _______________________________________________________                    Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                         Your expenses

                                                                                                                        $_____________________
                                                                                                                                         0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                   5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                     6a.    $_____________________
                                                                                                                                         0.00
        6b.   Water, sewer, garbage collection                                                                   6b.    $_____________________
                                                                                                                                         0.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.    $_____________________
                                                                                                                                         0.00
        6d.   Other. Specify: _______________________________________________                                    6d.    $_____________________
                                                                                                                                         0.00
 7. Food and housekeeping supplies                                                                               7.     $_____________________
                                                                                                                                         0.00
 8. Childcare and children’s education costs                                                                     8.     $_____________________
                                                                                                                                         0.00
 9. Clothing, laundry, and dry cleaning                                                                          9.     $_____________________
                                                                                                                                         0.00
10.    Personal care products and services                                                                       10.    $_____________________
                                                                                                                                         0.00
11.    Medical and dental expenses                                                                               11.    $_____________________
                                                                                                                                         0.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        $_____________________
                                                                                                                                         0.00
       Do not include car payments.                                                                              12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.    $_____________________
                                                                                                                                         0.00
14.     Charitable contributions and religious donations                                                         14.    $_____________________
                                                                                                                                         0.00
                                                                                                                                                       1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                      15a.   $_____________________
                                                                                                                                         0.00
        15b. Health insurance                                                                                    15b.   $_____________________
                                                                                                                                      315.00
        15c. Vehicle insurance                                                                                   15c.   $_____________________
                                                                                                                                         0.00
        15d. Other insurance. Specify:_______________________________________                                    15d.   $_____________________
                                                                                                                                         0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                        16.
                                                                                                                                        0.00
                                                                                                                        $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                          17a.   $_____________________
                                                                                                                                         0.00
        17b. Car payments for Vehicle 2                                                                          17b.   $_____________________
                                                                                                                                         0.00
        17c. Other. Specify:_______________________________________________                                      17c.   $_____________________
                                                                                                                                         0.00
        17d. Other. Specify:_______________________________________________                                      17d.   $_____________________
                                                                                                                                         0.00

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                          18.               2,049.00
                                                                                                                        $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                            19.
                                                                                                                                         0.00
                                                                                                                        $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                         20a.   $_____________________
                                                                                                                                         0.00
        20b. Real estate taxes                                                                                   20b.   $_____________________
                                                                                                                                         0.00
        20c. Property, homeowner’s, or renter’s insurance                                                        20c.   $_____________________
                                                                                                                                         0.00
        20d. Maintenance, repair, and upkeep expenses                                                            20d.   $_____________________
                                                                                                                                         0.00
        20e. Homeowner’s association or condominium dues                                                         20e.   $_____________________
                                                                                                                                         0.00


      Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
              Case 22-50579-pwb                 Doc 1           Filed 01/21/22 Entered 01/21/22 15:44:01                         Desc Main
                                                               Document      Page 43 of 68
                   Kamran Liaquat Kurani
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 2,364.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 2,364.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       2,200.00
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 2,364.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                   -164.00
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                        Schedule J: Your Expenses                                                       page 3
                Case 22-50579-pwb                   Doc 1     Filed 01/21/22 Entered 01/21/22 15:44:01                               Desc Main
                                                             Document      Page 44 of 68
Fill in this information to identify your case:

Debtor 1           Kamran Liaquat Kurani
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Northern District of Georgia District of __________
                                                                                (State)
Case number         ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Kamran Liaquat Kurani
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              01/21/2022
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                     Declaration About an Individual Debtor’s Schedules
              Case 22-50579-pwb                        Doc 1         Filed 01/21/22 Entered 01/21/22 15:44:01                                        Desc Main
                                                                    Document      Page 45 of 68

 Fill in this information to identify your case:

                    Kamran Liaquat Kurani
 Debtor 1
                    First Name         Middle Name           Last Name

 Debtor 2
 (Spouse, if filing)   First Name        Middle Name           Last Name



 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
 (if know)                                                                                                                                                      Check if this is
                                                                                                                                                                an amended
                                                                                                                                                                filing



 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                      4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is needed, attach
a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

 1. What is your current marital status?
       Married
       Not married
 2. During the last 3 years, have you lived anywhere other than where you live now?
       No
       Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community
    property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
    Wisconsin.)
       No
       Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H)

 Part 2:       Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
       No
       Yes. Fill in the details.
                                                                           Debtor 1                                               Debtor 2

                                                                           Sources of income           Gross income               Sources of income          Gross income
                                                                           Check all that apply        (before deductions         Check all that apply       (before deductions
                                                                                                       and exclusions)                                       and exclusions)

         From January 1 of current year until the date
         you filed for bankruptcy:                                            Wages,               $                                 Wages,              $
                                                                              commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business


         For last calendar year:
                                                                              Wages,               $ 10,000.00                       Wages,              $
         (January 1 to December 31, 2021                                      commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business


         For the calendar year before that:
                                                                              Wages,               $ 5,344.00                        Wages,              $
         (January 1 to December 31, 2020                                      commissions,                                           commissions,
                                                                              bonuses, tips                                          bonuses, tips
                                                                              Operating a business                                   Operating a business



Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1 of 7
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               First Name     Middle Name        Last Name
                                                                       Document      Page 46 of 68     Case number(if known)



5. Did you receive any other income during this year or the two previous calendar years?
   Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
   unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
   and gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under
   Debtor 1.

   List each source and the gross income from each source separately. Do not include income that you listed in line 4.
         No
         Yes. Fill in the details.
                                         Debtor 1                                                                     Debtor 2

                                         Sources of income                        Gross income from each              Sources of income   Gross income from each
                                         Describe below.                          source                              Describe below.     source
                                                                                  (before deductions and                                  (before deductions and
                                                                                  exclusions)                                             exclusions)
  From January 1 of
  current year until the
  date you filed for
  bankruptcy:
  For last calendar year:
                                            unemployment                           $ 7,040.00
  (January 1 to December
  31, 2021
  For the calendar year
  before that:                              business loss                          $ 4,629,654.00

  (January 1 to December
  31, 2020


 Part 3:        List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

         No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             “incurred by an individual primarily for a personal, family, or household purpose.”

               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

                    No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such
                    as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

               * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                     No. Go to line 7.

                     Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                          creditor. Do not include payments for domestic support obligations, such as child support and
                          alimony. Also, do not include payments to an attorney for this bankruptcy case.

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? Insiders
   include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
   corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
   agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
   such as child support and alimony.
         No.
         Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
   insider?
   Include payments on debts guaranteed or cosigned by an insider.
         No.
         Yes. List all payments that benefited an insider.



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 Part 4:        Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
   List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
   and contract disputes.
         No
         Yes. Fill in the details.
                                                                Nature of the case                         Court or agency                       Status of the
                                                                                                                                                 case

    Case title:                                                                                                                                      Pending
    Case number:                                                                                       Ascentium Capital                             On appeal
                                                                                                       Court Name
                                                                                                                                                     Concluded

                                                                                                       Number       Street
                                                                                                       .        .        .
                                                                                                       City     State    ZIP Code


10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
   Check all that apply and fill in the details below.
         No. Go to line 11.
         Yes. Fill in the information below.

11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
   from your accounts or refuse to make a payment because you owed a debt?
         No
         Yes. Fill in the details

12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
   creditors, a court-appointed receiver, a custodian, or another official?
         No
         Yes

 Part 5:        List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
         No
         Yes. Fill in the details for each gift.

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
         No
         Yes. Fill in the details for each gift or contribution.


 Part 6:        List Certain Losses

15.Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
   gambling?
         No
         Yes. Fill in the details.


 Part 7:        List Certain Payments or Transfers

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
   Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.
         No
         Yes. Fill in the details.




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                                                                      Description and value of any property transferred                Date payment      Amount of
                                                                                                                                       or transfer was   payment
                                                                                                                                       made
                                                                                                                                       01/2022           $ 25.00
                                                                     Pre filing credit counseling certificate
          Abacus                                                                                                                                         $
          Person Who Was Paid


          Number         Street
          .          .        .
          City       State    ZIP Code


          Email or website address


          Person Who Made the Payment, if Not You



                                                                      Description and value of any property transferred                Date payment      Amount of
                                                                                                                                       or transfer was   payment
                                                                                                                                       made
                                                                                                                                       01/2022           $ 338.00
                                                                     Chapter 7 Filing Fee
          Law Offices of Michael R Rethinger LLC                                                                                                         $
          Person Who Was Paid


          Number         Street
          .          .        .
          City       State    ZIP Code


          Email or website address
          Adrian Szakallas
          Person Who Made the Payment, if Not You



17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
   anyone who promised to help you deal with your creditors or to make payments to your creditors?
   Do not include any payment or transfer that you listed on line 16.
         No
         Yes. Fill in the details.

18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
   property transferred in the ordinary course of your business or financial affairs?
   Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
   Do not include gifts and transfers that you have already listed on this statement.
         No
         Yes. Fill in the details.
                                                                   Description and value of                Describe any property or payments             Date transfer
                                                                   property transferred                    received or debts paid in exchange            was made

                                                                                                                                                          06/23/2021
                                                                   1170 Faith Court, $539,900.00          539900
          Xvngyu Zhao and Jiaqing Zhou
          Person Who Received Transfer
          1170 Faith Court
          Number         Street
          Suwanee GA              30024
          City            State   ZIP Code

          Person’s relationship to you
          3rd party purchaser




Official Form 107                                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4 of 7
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                 First Name          Middle Name   Last Name
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                                                                                                                                        09/24/2020
                                                                      2398 Misty Ivy Court,                  320000
          Jong Ha Song
                                                                      $320,000.00
          Person Who Received Transfer
          2398 Misty Ivy Court
          Number         Street
          Buford GA               30519
          City        State       ZIP Code

          Person’s relationship to you
          3rd party purchaser



19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
   you are a beneficiary?(These are often called asset-protection devices.)
         No
         Yes. Fill in the details.


 Part 8:          List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
   closed, sold, moved, or transferred?
   Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
   brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
         No
         Yes. Fill in the details.

21.Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
   securities, cash, or other valuables?
         No
         Yes. Fill in the details.

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy
         No
         Yes. Fill in the details.


 Part 9:          Identify Property You Hold or Control for Someone Else

23.Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
   or hold in trust for someone.
         No
         Yes. Fill in the details.


 Part 10:          Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:
    Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
    hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
    including statutes or regulations controlling the cleanup of these substances, wastes, or material.
    Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
    it or used to own, operate, or utilize it, including disposal sites.
    Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
    substance, hazardous material, pollutant, contaminant, or similar term.
Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
         No
         Yes. Fill in the details.

25.Have you notified any governmental unit of any release of hazardous material?
         No
         Yes. Fill in the details.

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


Official Form 107                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy         page 5 of 7
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                First Name           Middle Name   Last Name
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         No
         Yes. Fill in the details.


 Part 11:         Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
              A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
              A member of a limited liability company (LLC) or limited liability partnership (LLP)
              A partner in a partnership
              An officer, director, or managing executive of a corporation
              An owner of at least 5% of the voting or equity securities of a corporation
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.

                                                                            Describe the nature of the business                         Employer Identification number
         Legacy Pizza, LLC                                                                                                              Do not include Social Security number or
         Business Name                                                                                                                  ITIN.
                                                                           Restaurant
         860 Peachtree Street
         Number        Street                                                                                                           EIN:       –
         #703                                                              Name of accountant or bookkeeper                             Dates business existed

         Atlanta GA             30308                                                                                                   From 10/01/2008 To 01/05/2022
         City       State       ZIP Code


                                                                            Describe the nature of the business                         Employer Identification number
         Legacy Pizza Alabama, LLC                                                                                                      Do not include Social Security number or
         Business Name                                                                                                                  ITIN.
                                                                           Owned restaurant physical location
         2740 ZELDA ROAD
         Number        Street                                                                                                           EIN:       –
         SUITE 5B                                                          Name of accountant or bookkeeper                             Dates business existed

         Montgomery AL                 36106                                                                                            From 12/01/2017 To 01/05/2022
         City                State     ZIP Code


                                                                            Describe the nature of the business                         Employer Identification number
         FitBox LLC                                                                                                                     Do not include Social Security number or
         Business Name                                                                                                                  ITIN.
                                                                           Gym
         860 Peachtree Street
         Number        Street                                                                                                           EIN:       –
         #703                                                              Name of accountant or bookkeeper                             Dates business existed

         Atlanta GA             30308                                                                                                   From 07/01/2018 To 12/31/2019
         City       State       ZIP Code


28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
   institutions, creditors, or other parties.
         No. None of the above applies. Go to Part 12.
         Yes. Check all that apply above and fill in the details below for each business.




Official Form 107                                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 6 of 7
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              First Name         Middle Name   Last Name
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 Part 12:       Sign Below

    I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
    answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
    in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
    18 U.S.C. §§ 152, 1341, 1519, and 3571.

         /s/ Kamran Liaquat Kurani
         Signature of Debtor 1                                                   Signature of Debtor 2

         Date 01/21/2022                                                         Date

    Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

         No
         Yes. Name of person                                                                                   Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7 of 7
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  Fill in this information to identify your case:

                     Kamran Liaquat Kurani
   Debtor 1
                     First Name         Middle Name            Last Name

   Debtor 2
   (Spouse, if filing)   First Name       Middle Name            Last Name



   United States Bankruptcy Court for the: Northern District of Georgia

   Case number
   (if known)
                                                                                                                                          Check if this is
                                                                                                                                          an amended
                                                                                                                                          filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                       12/15

If you are an individual filing under chapter 7, you must fill out this form if:
◾ creditors have claims secured by your property, or
◾ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign
and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known).

 Part 1:       List Your Creditors Who Have Secured Claims


 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information
    below.
                                                                     What do you intend to do with the property     Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                           exempt on Schedule C?
   Creditor's                                                                        Surrender the property.                   No
   name:                 Pawnee Leasing Company
                                                                                     Retain the property and redeem it.        Yes
   Description of 860 Peachtree Street NE                                            Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:
                                                                                     Avoid Lien


   Creditor's                                                                        Surrender the property.                   No
   name:                 Ascentium Capital
                                                                                     Retain the property and redeem it.        Yes
   Description of 860 Peachtree Street NE                                            Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:
                                                                                     Avoid Lien


   Creditor's                                                                        Surrender the property.                   No
   name:                 Ascentium Capital
                                                                                     Retain the property and redeem it.        Yes
   Description of 860 Peachtree Street NE                                            Retain the property and enter into a
   property
   securing debt:                                                                    Reaffirmation Agreement.
                                                                                     Retain the property and [explain]:
                                                                                     Avoid Lien




 Official Form 108                                             Statement of Intention for Individuals Filing Under Chapter 7                       page 1 of 3
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                                                                     What do you intend to do with the property    Did you claim the property as
    Identify the creditor and the property that is collateral
                                                                     that secures a debt?                          exempt on Schedule C?
  Creditor's                                                             Surrender the property.                      No
  name:             Ascentium Capital
                                                                         Retain the property and redeem it.           Yes
  Description of 860 Peachtree Street NE                                 Retain the property and enter into a
  property
  securing debt:                                                         Reaffirmation Agreement.
                                                                         Retain the property and [explain]:
                                                                         Avoid Lien


  Creditor's                                                             Surrender the property.                      No
  name:             Spire Residential Condominium Association,
                    Inc.                                                 Retain the property and redeem it.           Yes
                                                                         Retain the property and enter into a
  Description of 860 Peachtree Street NE
  property                                                               Reaffirmation Agreement.
  securing debt:                                                         Retain the property and [explain]:



  Creditor's                                                             Surrender the property.                      No
  name:             United Community Bank
                                                                         Retain the property and redeem it.           Yes
  Description of 860 Peachtree Street NE                                 Retain the property and enter into a
  property
  securing debt:                                                         Reaffirmation Agreement.
                                                                         Retain the property and [explain]:
                                                                         Avoid Lien


  Creditor's                                                             Surrender the property.                      No
  name:             Regions Bank dba Regions Mortgage
                                                                         Retain the property and redeem it.           Yes
  Description of 860 Peachtree Street NE                                 Retain the property and enter into a
  property
  securing debt:                                                         Reaffirmation Agreement.
                                                                         Retain the property and [explain]:



  Creditor's                                                             Surrender the property.                      No
  name:             Ascentium Capital LLC
                                                                         Retain the property and redeem it.           Yes
  Description of 860 Peachtree Street NE                                 Retain the property and enter into a
  property
  securing debt:                                                         Reaffirmation Agreement.
                                                                         Retain the property and [explain]:
                                                                         Avoid Lien



Part 2:      List Your Unexpired Personal Property Leases


 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
 in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
 You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).
    Describe your unexpired personal property leases Will the lease be assumed?




Official Form 108                                  Statement of Intention for Individuals Filing Under Chapter 7                             page 2 of 3
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Part 3:      Sign Below


Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.



     /s/ Kamran Liaquat Kurani
       Signature of Debtor 1                                                   Signature of Debtor 2


     Date 01/21/2022                                                         Date 01/21/2022
             MM/DD/YYYY                                                             MM/DD/YYYY




Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7                          page 3 of 3
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 Fill in this information to identify your case:
                                                                Document      Page 55 of 68
                                                                                                       Check one box only as directed in this form and in
                                                                                                       Form 122A-1Supp:
 Debtor 1         Kamran    Liaquat Kurani
                  __________________________________________________________________
                     First Name                Middle Name                  Last Name
                                                                                                       
                                                                                                       ✔   1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                Middle Name                  Last Name                     2. The calculation to determine if a presumption of
                                                                                                              abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: ____________
                                         Northern District   ofofGeorgia
                                                       District   _______________
                                                                                                              Means Test Calculation (Official Form 122A–2).
 Case number        ___________________________________________                                           3. The Means Test does not apply now because of
 (If known)
                                                                                                              qualified military service but it could apply later.


                                                                                                        Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                              04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

   Part 1:         Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        
        ✔     Not married. Fill out Column A, lines 2-11.
             Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

             Married and your spouse is NOT filing with you. You and your spouse are:
                   Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                   Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                    under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                    spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
        bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
        August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
        Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
        income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                         Column A             Column B
                                                                                                         Debtor 1             Debtor 2 or
                                                                                                                              non-filing spouse
   2. Your gross wages, salary, tips, bonuses, overtime, and commissions
      (before all payroll deductions).                                                                     $_________           $__________

   3. Alimony and maintenance payments. Do not include payments from a spouse if
      Column B is filled in.                                                                               $_________           $__________

   4. All amounts from any source which are regularly paid for household expenses
      of you or your dependents, including child support. Include regular contributions
      from an unmarried partner, members of your household, your dependents, parents,
      and roommates. Include regular contributions from a spouse only if Column B is not
      filled in. Do not include payments you listed on line 3.                                             $_________           $__________

   5. Net income from operating a business, profession,
                                                        Debtor 1                         Debtor 2
      or farm
      Gross receipts (before all deductions)            $______                           $______
        Ordinary and necessary operating expenses                      – $______        – $______
                                                                                                     Copy
      Net monthly income from a business, profession, or                 $______         $______     here$_________            $__________
      farm
   6. Net income from rental and other real property                      Debtor 1       Debtor 2
      Gross receipts (before all deductions)                              $______        $______
        Ordinary and necessary operating expenses                      – $______        – $______
                                                                                                    Copy
        Net monthly income from rental or other real property             $______        $______    here$_________             $__________
  7. Interest, dividends, and royalties                                                                    $_________           $__________



Official Form 122A-1                              Chapter 7 Statement of Your Current Monthly Income                                                   page 1
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Debtor 1          Kamran   Liaquat Kurani
                  _______________________________________________________                                                    Case number (if known)_____________________________________
                  First Name              Middle Name                      Last Name



                                                                                                                                   Column A                    Column B
                                                                                                                                   Debtor 1                    Debtor 2 or
                                                                                                                                                               non-filing spouse

   8. Unemployment compensation                                                                                                      $__________                  $___________
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here: ................................ 
           For you ..................................................................................   $______________
           For your spouse ..................................................................           $______________
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the United
      States Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If you received any retired pay paid
      under chapter 61 of title 10, then include that pay only to the extent that it does not
      exceed the amount of retired pay to which you would otherwise be entitled if retired
      under any provision of title 10 other than chapter 61 of that title.                                                           $__________                  $___________
   10. Income from all other sources not listed above. Specify the source and amount. Do
       not include any benefits received under the Social Security Act; payments made under
       the Federal law relating to the national emergency declared by the President under the
       National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
       disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
       against humanity, or international or domestic terrorism; or compensation, pension,
       pay, annuity, or allowance paid by the United States Government in connection with a
       disability, combat-related injury or disability, or death of a member of the uniforces. If
       necessary, list other sources on a separate page and put the total below.

       ______________________________________                                                                                        $_________                   $___________
       ______________________________________                                                                                        $_________                   $___________

       Total amounts from separate pages, if any.                                                                                + $_________                  + $___________

   11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                        +                          =
       column. Then add the total for Column A to the total for Column B.                                                            $_________                   $___________            $__________
                                                                                                                                                                                          Total current
                                                                                                                                                                                          monthly income
   Part 2:          Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a.      Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here        $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                     x 12
       12b.      The result is your annual income for this part of the form.                                                                                                   12b.   $__________

   13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.


       Fill in the median family income for your state and size of household. ................................................................................................. 13.   $__________
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk’s office.


   14. How do the lines compare?


       14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3. Do NOT fill out or file Official Form 122A-2.


       14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.


Official Form 122A-1                                                Chapter 7 Statement of Your Current Monthly Income                                                                    page 2
           Case 22-50579-pwb                  Doc 1           Filed 01/21/22 Entered 01/21/22 15:44:01                             Desc Main
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Debtor 1     Kamran    Liaquat Kurani
             _______________________________________________________                              Case number (if known)_____________________________________
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


               /s/ Kamran Liaquat Kurani
                   __________________________________________________________                   ______________________________________
                   Signature of Debtor 1                                                         Signature of Debtor 2

                       01/21/2022
                  Date _________________                                                         Date _________________
                       MM / DD / YYYY                                                                 MM / DD / YYYY


                   If you checked line 14a, do NOT fill out or file Form 122A–2.
                   If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                   page 3
                 Case 22-50579-pwb                  Doc 1         Filed 01/21/22 Entered 01/21/22 15:44:01                            Desc Main
    Fill in this information to identify your case:              Document      Page 58 of 68

    Debtor 1           Kamran Liaquat Kurani
                      __________________________________________________________________
                        First Name              Middle Name              Last Name

    Debtor 2            ________________________________________________________________
    (Spouse, if filing) First Name              Middle Name              Last Name


    United States Bankruptcy Court for the: Northern
                                            ______________________
                                                     District of Georgia District of __________

    Case number         ___________________________________________
    (If known)

                                                                                                            Check if this is an amended filing

 Official Form 122A─1Supp
St a t e m e nt of Ex e m pt ion from Pre sum pt ion of Abuse U nde r § 7 0 7 (b)(2 )                                                                         12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this
is required by 11 U.S.C. § 707(b)(2)(C).


Pa rt 1 :        I de nt ify t he K ind of De bt s Y ou H a ve

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
   personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave on line 16 of the Voluntary Petition for
   Individuals Filing for Bankruptcy (Official Form 101).

     
     ✔
          No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit
              this supplement with the signed Form 122A-1.
         Yes. Go to Part 2.

Pa rt 2 :        De t e rm ine Whe t he r M ilit a ry Se rvic e Provisions Apply t o Y ou


2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
    No. Go to line 3.
    Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                  10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                   No. Go to line 3.
                   Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.
                        Then submit this supplement with the signed Form 122A-1.
3. Are you or have you been a Reservist or member of the National Guard?
           No. Complete Form 122A-1. Do not submit this supplement.
           Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No. Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                    I was called to active duty after September 11, 2001, for at least           If you checked one of the categories to the left, go to
                     90 days and remain on active duty.                                           Form 22A-1. On the top of page 1 of Form 22A-1, check
                                                                                                  box 3, The Means Test does not apply now, and sign
                    I was called to active duty after September 11, 2001, for at least
                                                                                                  Part 3. Then submit this supplement with the signed
                     90 days and was released from active duty on _______________,
                                                                                                  Form 22A-1. You are not required to fill out the rest of
                     which is fewer than 540 days before I file this bankruptcy case.
                                                                                                  Official Form 22A-1 during the exclusion period. The
                    I am performing a homeland defense activity for at least 90 days.            exclusion period means the time you are on active duty
                                                                                                  or are performing a homeland defense activity, and for
                    I performed a homeland defense activity for at least 90 days,                540 days afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                     ending on _______________, which is fewer than 540 days before
                                                                                                  If your exclusion period ends before your case is closed,
                     I file this bankruptcy case.
                                                                                                  you may have to file an amended form later.




Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                   page 1
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Adams and Reese LLP                                   Chase
3424 Peachtree Road NE                                P.O. Box 1423
Suite 1600                                            Charlotte, NC 28201
Atlanta, GA 30326

                                                      Chase
Adrian Szakallas                                      PO Box 6294
925 B Peachtree Street                                Carol Stream, IL 60197
Atlanta, GA 30309

                                                      Citi
Aldridge Pite Haan LLP                                PO Box 70166
6100 Lake Forest Drive, NW                            Philadelphia, PA 19176
Suite 200
Atlanta, GA 30328
                                                      Citicards CBNA
                                                      5800 South Corporate Place
Ascentium Capital                                     Mail Code 234
23970 Highway 59 N                                    Sioux Falls, SD 57108
Kingwood, TX 77339

                                                      co-owner of fitbox
Ascentium Capital LLC                                 Gabriel Kitober Viera
23970 Highway 59 North                                302 Perimeter Ctr N
Kingswood, TX 77339                                   Atlanta, GA 30346


Baker, Donelson, Bearman, Caldwell & Berkowitz, PC    Corporation Service Company
3414 Peachtree Rd, NE                                 2 SUN COURT
Suite 1500                                            SUITE 400
Atlanta, GA 30326                                     Peachtree Corners, GA 30092


Bovis Kyle Birch and Medlin                           Corporation Service Company
200 ASHFORD CENTER NORTH                              2 Sun Court
SUITE 500                                             Suite 400
Atlanta, GA 30338                                     Peachtree Corner, GA 30092


Burr Forman LLP                                       Corporation Service Company
171 Seventeenth Street NW                             2 Sun Court
Suite 1100                                            Suite 400
Atlanta, GA 30363                                     Norcross, GA 30092


C T Corporation System                                CREDENCE RESOURCE MANA
289 South Culver Street                               17000 DALLAS PKWY
Lawrenceville, GA 30046                               STE 20
                                                      Dallas, TX 75248

Capital One
P.O. Box 71083                                        Deeter and Fraiser
Charlotte, NC 28272                                   Promenade II
                                                      1230 Peachtree St NE #1500
                                                      Atlanta, GA 30309
CAVALRY PORTFOLIO SERV
PO BOX 27288
Tempe, AZ 85285                                       DISCOVER FIN SVCS LLC
                                                      PO Box 15316
                                                      Wilmington, DE 19850
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Discover Financial Services                             Regions Bank
P.O. Box 30943                                          P.O. Box 2224
Salt Lake City, UT 84130                                Birmingham, AL 35246


Fitbox LLC                                              Regions Bank
860 Peachtree Street NE                                 Post Office Box 11007
Suite 703                                               Birmingham, AL 35288
Atlanta, GA 30308

                                                        Regions Bank dba Regions Mortgage
Heritage First Bank                                     PO BOX 110
PO Box 5184                                             Hattiesburg, MS 39403
Rome, GA 30162

                                                        Saima Ali Kurani
Internal Revenue Service                                5818 Berkshire Road
Centralized Insolvency Operation                        Sugar Land, TX 77479
PO Box 7346
Philadelphia, PA 19101-7346
                                                        Sallie Mae
                                                        PO Box 3229
JPMCB CARD                                              Wilmington, DE 19804
PO BOX 15369
Wilmington, DE 19850
                                                        Spire Residential Condominium Association, Inc.
                                                        860 Peachtree Street NE
Legacy Pizza LLC                                        Atlanta, GA 30308
860 Peachtree Street NE
Suite 703
Atlanta, GA 30308                                       United Community Bank
                                                        9699 Rome Blvd
                                                        Summerville, GA 30747
Pawnee Leasing Company
3801 Automation Way
Suite 207                                               Wright Law Group, PLLC
Fort Collins, CO 80525                                  4470 W. Sunset Blvd
                                                        Suite 90003
                                                        Los Angeles, CA 90027
Pioneer Mutual Federal Credit Union
1521 Lake Pointe Parkway
Sugar Land, TX 77478                                    Yasmin Kurani
                                                        615 Blue Park Road
                                                        Orange City, FL 32763
Platinum Company Credit Card
2035 SUGARLOAF CIR
Duluth, GA 30097                                        Zarina Ali
                                                        5818 Berkshire Ridge Rd
                                                        Sugar Land, TX 77479
Platinum FCU
2035 SUGARLOAF CIR
Duluth, GA 30097


Platinum Federal Credit Union
2035 SUGARLOAF CIR
Duluth, GA 30097


Regions Bank
1900 5TH AVE N
Birmingham, AL 35203
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                             United States Bankruptcy Court
                               Northern District of Georgia




         Kamran Liaquat Kurani
In re:                                                        Case No.

                                                              Chapter    7
                     Debtor(s)




                            Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




              01/21/2022                          /s/ Kamran Liaquat Kurani
Date:
                                                 Signature of Debtor



                                                 Signature of Joint Debtor
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 Notice Required by 11 U.S.C. § 342(b) for
 Individuals Filing for Bankruptcy (Form 2010)


                                                                 Chapter 7:        Liquidation
  This notice is for you if:

        You are an individual filing for bankruptcy,                      $245     filing fee
         and                                                                $78     administrative fee
                                                                 +          $15     trustee surcharge
        Your debts are primarily consumer debts.
                                                                           $338     total fee
         Consumer debts are defined in 11 U.S.C.
         § 101(8) as “incurred by an individual                  Chapter 7 is for individuals who have financial
         primarily for a personal, family, or                    difficulty preventing them from paying their
         household purpose.”                                     debts and who are willing to allow their non-
                                                                 exempt property to be used to pay their
                                                                 creditors. The primary purpose of filing under
                                                                 chapter 7 is to have your debts discharged. The
 The types of bankruptcy that are                                bankruptcy discharge relieves you after
 available to individuals                                        bankruptcy from having to pay many of your
                                                                 pre-bankruptcy debts. Exceptions exist for
 Individuals who meet the qualifications may file                particular debts, and liens on property may still
 under one of four different chapters of the                     be enforced after discharge. For example, a
 Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                 mortgage or repossess an automobile.
        Chapter 7 — Liquidation
                                                                 However, if the court finds that you have
        Chapter 11 — Reorganization
                                                                 committed certain kinds of improper conduct
                                                                 described in the Bankruptcy Code, the court
        Chapter 12 — Voluntary repayment plan
                                                                 may deny your discharge.
                      for family farmers or
                      fishermen
                                                                 You should know that even if you file
                                                                 chapter 7 and you receive a discharge, some
        Chapter 13 — Voluntary repayment plan
                                                                 debts are not discharged under the law.
                      for individuals with regular
                                                                 Therefore, you may still be responsible to pay:
                      income
                                                                     most taxes;
 You should have an attorney review your                             most student loans;
 decision to file for bankruptcy and the choice of
                                                                     domestic support and property settlement
 chapter.
                                                                      obligations;




 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1
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    most fines, penalties, forfeitures, and                     your income is more than the median income
     criminal restitution obligations; and                       for your state of residence and family size,
    certain debts that are not listed in your                   depending on the results of the Means Test, the
     bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                 creditors can file a motion to dismiss your case
 You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
 from:                                                           motion is filed, the court will decide if your
                                                                 case should be dismissed. To avoid dismissal,
    fraud or theft;
                                                                 you may choose to proceed under another
    fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
     of fiduciary capacity;
                                                                 If you are an individual filing for chapter 7
    intentional injuries that you inflicted; and
                                                                 bankruptcy, the trustee may sell your property
    death or personal injury caused by                          to pay your debts, subject to your right to
     operating a motor vehicle, vessel, or                       exempt the property or a portion of the
     aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
     drugs.                                                      property, and the proceeds from property that
                                                                 your bankruptcy trustee sells or liquidates that
 If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
 court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
 that you have enough income to repay                            home, a car, clothing, and household items or
 creditors a certain amount. You must file                       to receive some of the proceeds if the property
 Chapter 7 Statement of Your Current Monthly                     is sold.
 Income (Official Form 122A–1) if you are an
 individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
 chapter 7. This form will determine your                        property, you must list it on Schedule C: The
 current monthly income and compare whether                      Property You Claim as Exempt (Official Form
 your income is more than the median income                      106C). If you do not list the property, the
 that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                 to your creditors.
 If your income is not above the median for
 your state, you will not have to complete the
 other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
 Test Calculation (Official Form 122A–2).
                                                                          $1,167    filing fee
 If your income is above the median for your                     +          $571    administrative fee
 state, you must file a second form —the                                  $1,738    total fee
 Chapter 7 Means Test Calculation (Official
 Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
 sometimes called the Means Test—deduct                          business, but is also available to individuals.
 from your income living expenses and                            The provisions of chapter 11 are too
 payments on certain debts to determine any                      complicated to summarize briefly.
 amount available to pay unsecured creditors. If



 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 2
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Read These Important Warnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




 Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
             farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                 money that you owe them, usually using your
            $200   filing fee                                    future earnings. If the court approves your
 +           $78   administrative fee                            plan, the court will allow you to repay your
            $278   total fee
                                                                 debts, as adjusted by the plan, within 3 years or
                                                                 5 years, depending on your income and other
 Similar to chapter 13, chapter 12 permits
                                                                 factors.
 family farmers and fishermen to repay their
 debts over a period of time using future                        After you make all the payments under your
 earnings and to discharge some debts that are                   plan, many of your debts are discharged. The
 not paid.                                                       debts that are not discharged and that you may
                                                                 still be responsible to pay include:
                                                                     domestic support obligations,
 Chapter 13: Repayment plan for
                                                                     most student loans,
             individuals with regular
             income                                                  certain taxes,
                                                                     debts for fraud or theft,
           $235    filing fee                                        debts for fraud or defalcation while acting
 +          $78    administrative fee                                 in a fiduciary capacity,
           $313    total fee
                                                                     most criminal fines and restitution
                                                                      obligations,
 Chapter 13 is for individuals who have regular
 income and would like to pay all or part of                         certain debts that are not listed in your
 their debts in installments over a period of time                    bankruptcy papers,
 and to discharge some debts that are not paid.                      certain debts for acts that caused death or
 You are eligible for chapter 13 only if your                         personal injury, and
 debts are not more than certain dollar amounts                      certain long-term secured debts.
 set forth in 11 U.S.C. § 109.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 3
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                                                                 A married couple may file a bankruptcy case
     Warning: File Your Forms on Time                            together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
     Section 521(a)(1) of the Bankruptcy Code                    address on the bankruptcy petition, the
     requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
     about your creditors, assets, liabilities, income,
     expenses and general financial condition. The               your spouse one copy of each notice, unless
     court may dismiss your bankruptcy case if you do            you file a statement with the court asking that
     not file this information within the deadlines set by       each spouse receive separate copies.
     the Bankruptcy Code, the Bankruptcy Rules, and
     the local rules of the court.

     For more information about the documents and                Understand which services you
     their deadlines, go to:                                     could receive from credit
     http://www.uscourts.gov/forms/bankruptcy-forms              counseling agencies

                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
 Bankruptcy crimes have serious
                                                                 If you are filing a joint case, both spouses must
 consequences
                                                                 receive the briefing. With limited exceptions,
      If you knowingly and fraudulently conceal                 you must receive it within the 180 days before
       assets or make a false oath or statement                  you file your bankruptcy petition. This briefing
       under penalty of perjury—either orally or                 is usually conducted by telephone or on the
       in writing—in connection with a                           Internet.
       bankruptcy case, you may be fined,
       imprisoned, or both.                                      In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
       All information you supply in connection                 management instructional course before you
       with a bankruptcy case is subject to                      can receive a discharge. If you are filing a joint
       examination by the Attorney General acting                case, both spouses must complete the course.
       through the Office of the U.S. Trustee, the
       Office of the U.S. Attorney, and other                    You can obtain the list of agencies approved to
       offices and employees of the U.S.                         provide both the briefing and the instructional
       Department of Justice.                                    course from: http://www.uscourts.gov/services-
                                                                 forms/bankruptcy/credit-counseling-and-debtor-
 Make sure the court has your                                    education-courses.
 mailing address                                                 In Alabama and North Carolina, go to:
 The bankruptcy court sends notices to the                       http://www.uscourts.gov/services-
 mailing address you list on Voluntary Petition                  forms/bankruptcy/credit-counseling-and-
 for Individuals Filing for Bankruptcy (Official                 debtor-education-courses.
 Form 101). To ensure that you receive
                                                                 If you do not have access to a computer, the
 information about your case, Bankruptcy
                                                                 clerk of the bankruptcy court may be able to
 Rule 4002 requires that you notify the court of
                                                                 help you obtain the list.
 any changes in your address.


 Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)      page 4
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                                      United States Bankruptcy Court
                                                              Northern District of Georgia
                                               __________________________________
     In re   Kamran Liaquat Kurani

                                                                                                             Case No. _______________

    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         5,000.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 1,500.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   3,500.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)        Adrian Szakallos


    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;
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     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
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                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for
           payment to me for representation of the debtor(s) in this bankruptcy proceeding.

       01/21/2022                        /s/ Michael Rethinger, 301215
     _____________________              _________________________________________
     Date                                     Signature of Attorney
                                         Law Offices of Michael R Rethinger, LLC
                                        _________________________________________
                                             ​Name of law firm
                                         1392 McClendon Ave NE
                                         Atlanta, GA 30307
                                         770.922.0066
                                         michael@rethingerlaw.com
